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 GOVERNMENT
  EXHIBIT L
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#Yes 2. Yes 3. Yes 4. I was arrested for protesting a drag queen story hour event at a local
library 2 years ago. Served community service. No other arrests. 5. I occasionally use marijuana
(less than once a month) and natural psychedelics (less than once a year) 6. No and no. 7. No and
none to my knowledge. 8. No 9. I’ve been photographed while participating in political events in
public but have never been successfully doxxed. 10. No 11. I’ve done contract work for the
federal govt as a firefighter/emt. 12. The anthem (By God we’ll have our home) 13. Only on
telegram, anonymously. 14. The foremost problems of our day are the forces of global capitalism
and communism (or marxism). These two systems, while seemingly in competition with one
another, need not be thought of as distinct issues. This is because they are driven by the same
people, have the same motivations, and lead to the same ends. Whenever I hear people
discussing communism verses capitalism a funny image enters my mind. It is the picture of two
democratic candidates from the run up to the 2020 election. I distinctly remember watching
Bernie Sanders and Michael Bloomberg briefly argue on the debate stage. These two rich Jews
represented the “competing” forces of communism and capitalism, respectfully, and I couldn’t
help but laugh when I saw these two kikes argue over which of their demonic world views was
correct. If one takes a deep enough look into who has been driving the communist and capitalist
empires of the 20th century they can see the dark hands of judaism being rubbed together behind
closed doors while their puppets and pawns fight each other in public to fight for their jewish
masters. From Luxembourg and Marx in Germany, to the Rothschilds in England, to the Sacklers
and Madhoffs of America, greedy, soulless jews are behind almost every great scheme
throughout history which has stolen life and liberty from the ordinary peoples of the world.
These “people” will never stop committing atrocities against mankind, because their satanic
greed is never satisfied. Both capitalism and communism are materialistic in their motivation.
Proponents of these systems argue that they can bring wealth to all peoples of the world. But
when one takes an honest look at the impacts these systems have had on the world they should
see that they only bring wealth to a privileged few - those at the helm of the institutions of
power. It is true that the free market and industrialization have brought certain material luxuries
to the common people of many societies. It is also true that communist regimes have managed to
turn undeveloped nations into formidable players on the world stage. But there is always a catch,
always a price to pay for these quick surges in wealth and power. Human dignity, individual
freedoms, beautiful traditions, pure bloodlines, the natural ecosystem, and many more all suffer
at the hands of communists and capitalists alike. These two machines have been running at
maximum speed for over one hundred years and their long term effects are observable in the
world today. The end results of global capitalist and communist interests entail much of what the
world suffers from today. Racial turmoil arises from unlimited immigration and forced
intermingling of incompatible ethnic groups. Families grow distant as mothers and fathers are
forced to neglect their children to work longer hours for less pay. Land, sea, and air are polluted
by factories which mass produce unneeded goods designed to be useful for only as long as it
takes the consumer to be duped into buying again. Suicide rates continue to soar in many of the
worlds wealthiest nations as people are constantly bombarded with mind altering chemicals and
mind destroying entertainment, both designed to numb people who are forced to live
meaningless and unnatural lives. The solution to these problems is National Socialism. Every
nation on Earth must have the right to pursue the prosperity of its own people and preserve the
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beauty of its own interior. Sovereign people must be free to live as Nature and God intended. A
successful National Socialist government uses the power of the state to protect its citizens from
foreign influencers. It values human dignity, physical and spiritual beauty, and truth over
material wealth. It rejects the false dilemma of communism verses capitalism. Most importantly
it opposes the evil forces of judaism so that the best people of the world can flourish and be
perfected.
